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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
UNITED STATES OF AMERICA et al.,          )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3010 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )
_________________________________________
                                          )
STATE OF COLORADO et al.,                 )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3715 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )

                                            ORDER

      The following schedule and page limitations shall apply to the parties’ post-trial

submissions.

      1. Proposed Findings of Fact and Conclusions of Law

          a. The parties shall file their respective Proposed Findings of Fact and Conclusions of

               Law by February 9, 2024. Hyperlinked versions of these filings shall be delivered

               to chambers by February 23, 2024.

          b. The page limits for the Proposed Findings of Fact are as follows:

               i. DOJ Plaintiffs: 500 pages

               ii. Colorado Plaintiffs: 100 pages
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      iii. Google: 600 pages

   c. The page limits for the Proposed Conclusions of Law are as follows:

      i. DOJ Plaintiffs: 35 pages

      ii. Colorado Plaintiffs: 15 pages

      iii. Google: 50 pages

2. Post-Trial Briefs

   a. The parties shall file their respective post-trial briefs by February 9, 2024.

      Hyperlinked versions of these filings shall be delivered to chambers by February

      23, 2024.

   b. The page limits for the post-trial briefs are as follows:

      i. DOJ Plaintiffs: 80 pages

      ii. Colorado Plaintiffs: 35 pages

      iii. Google: 115 pages

3. Responsive Proposed Findings of Fact and Conclusions of Law

   a. The parties shall file their respective Responsive Proposed Findings of Fact and

      Conclusions of Law by March 22, 2024. Hyperlinked versions of these filings

      shall be delivered to chambers by April 5, 2024.

   b. The page limits for the Responsive Proposed Findings of Fact are as follows:

      i. DOJ Plaintiffs: 120 pages

      ii. Colorado Plaintiffs: 30 pages

      iii. Google: 150 pages




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          c. The page limits for the Responsive Proposed Conclusions of Law are as follows:

              i. DOJ Plaintiffs: 25 pages

              ii. Colorado Plaintiffs: 10 pages

              iii. Google: 35 pages

   4. Closing Arguments. The parties shall reserve May 1, 2024—May 3, 2024 for closing

      arguments. The court will issue an order governing the structure of closing arguments at a

      later date.




                                                             Amit P. Mehta
Date: November 17, 2023                               United States District Judge




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